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5

6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-08-224 OWW
                                       )
10                                     )       MEMORANDUM DECISION AND
                                       )       ORDER DENYING DEFENDANT GARY
11                     Plaintiff,      )       ERMOIAN'S MOTION TO DISMISS
                                       )       SIXTEENTH COUNT OF SECOND
12              vs.                    )       SUPERSEDING INDICTMENT (Doc.
                                       )       185)
13                                     )
     ROBERT C. HOLLOWAY, et al.,       )
14                                     )
                                       )
15                     Defendants.     )
                                       )
16                                     )

17        Before the Court is Defendant Gary L. Ermoian’s motion to

18   dismiss the Sixteenth Count of the Second Superseding

19   Indictment.1     The motion to dismiss is joined by Defendants

20   Robert C. Holloway, and Stephen J. Johnson; however, these

21   joinders do not specify any particular facts or argument that

22   applies to these defendants.

23        A.   Sixteenth Count.

24

25        1
           At the time the motion was filed, the applicable count was
     the Seventeenth Count of the Superseding Indictment filed on
26   November 25, 2008.

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1         The Sixteenth Count charges Defendant Ermoian, and co-

2    defendants Robert C. Holloway, Joseph S. Tyler, David A. Swanson,

3    and Steven [sic] J. Johnson with conspiracy to obstruct justice

4    in violation of 15 U.S.C. § 1512(c)(2) and (k).         Swanson is

5    alleged to have been employed as a Sheriff-Bailiff with the

6    Stanislaus County Sheriff’s Department; Ermoian is alleged to be

7    a private investigator in the Stanislaus County area and an

8    associate of Robert Holloway; Johnson is alleged to have been a

9    dog trainer who trained narcotics and bomb detection dogs

10   primarily for law enforcement and military use, who was uniquely

11   situated to obtain sensitive law enforcement information, and who

12   also performed dog search duties for Robert Holloway.          The

13   Sixteenth Count alleges that the Central Valley Gang Impact Task

14   Force (CVGIT) was a task force constituted of State and Federal

15   law enforcement agencies to combat gangs and organized crime in

16   the central San Joaquin Valley; that the FBI, the Modesto Police

17   Department, and the Stanislaus County District Attorney’s Office

18   were members of CVGIT; that CVGIT was conducting an investigation

19   into a criminal enterprise known as the Holloway criminal

20   enterprise, consisting of Robert Holloway, Brent Holloway, Road

21   Dog Cycle, and individuals associated with Robert Holloway and

22   Road Dog Cycle; that CVGIT members were concerned about

23   information gathered during the investigation being disseminated

24   to those outside law enforcement and to those under

25   investigation; that such unauthorized dissemination impeded the

26   investigation by, including but not limited to, altering the

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1    methods by which CVGIT conducted the investigation and causing

2    CVGIT to lose its ability to utilize normal avenues of

3    communication with other law enforcement agencies; and that it

4    was part of the CVGIT investigation of the Holloway criminal

5    enterprise that search warrants were being planned to be executed

6    at various residences and businesses, including Road Dog Cycle.

7    The Sixteenth Count alleges:

8               75. On or about September 19, 2007, CVGIT
                sent out an Officer Safety Bulletin to
9               various members of the law enforcement
                community. The Officer Safety Bulletin used
10              pictures taken at a gathering called ‘The
                11th Annual Burn-Out Party,’ held at Road Dog
11              Cycle, and described Road Dog Cycle to be a
                business that is friendly to outlaw
12              motorcycle clubs. The Officer Safety
                Bulletin described the various outlaw
13              motorcycle clubs that were seen at Road Dog
                Cycle at the ‘Burn-Out Party,’ including, but
14              not limited to, the Hells Angels, the Jus
                Brothers and the Alky Haulers. The Officer
15              Safety Bulletin further informed law
                enforcement what to look for if law
16              enforcement encountered Hells Angels
                motorcycle club members or those that
17              supported the Hells Angels. Finally, the
                Officer Safety Bulletin stated that it
18              contained confidential information, was
                intended for law enforcement purposes only,
19              should not be disseminated to the public and
                any dissemination should be on a ‘need to
20              know basis’ only. Defendant DAVID A. SWANSON
                received a copy of said Officer Safety
21              Bulletin.

22   The means and manner of the conspiracy are alleged in Paragraph

23   77:

24              a. Defendant DAVID A. SWANSON, in his
                capacity as a law enforcement officer with
25              the Stanislaus County Sheriff’s Department,
                came into possession of an Officer Safety
26              Bulletin, dated September 18, 2007, which

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1               contained law enforcement sensitive and
                confidential information concerning law
2               enforcement’s intelligence regarding Road Dog
                Cycle and Robert Holloway.
3
                b. Defendant STEVEN J. JOHNSON, in his
4               capacity as a dog trainer working with law
                enforcement, obtained sensitive law
5               enforcement information relating to law
                enforcement’s interest in defendant ROBERT C.
6               HOLLOWAY and Road Dog Cycle.

7               c. Once informed of the possibility that
                search warrants may be executed at Road Dog
8               Cycle, defendant JOSEPH S. TYLER, in his
                capacity as a Deputy employed by the Merced
9               County Sheriff’s Department, would assist
                defendant ROBERT C. HOLLOWAY by checking
10              stolen motorcycle parts through law
                enforcement databases and informing Defendant
11              ROBERT C. HOLLOWAY whether such parts were in
                fact stolen, in an effort to assist defendant
12              ROBERT C. HOLLOWAY with the disposal of such
                parts to keep them out of reach of law
13              enforcement.

14              d. Defendants DAVID A. SWANSON and STEVEN J.
                JOHNSON would relay the belief that law
15              enforcement was gathering intelligence on
                defendant ROBERT C. HOLLOWAY and Road Dog
16              Cycle, to defendant GARY L. ERMOIAN, with the
                intent that such information be relayed to
17              defendant ROBERT C. HOLLOWAY to impede the
                investigation, or relayed such information
18              directly to defendant ROBERT C. HOLLOWAY for
                the purpose of impeding the information.
19
                e. To further impede the investigation,
20              defendant GARY L. ERMOIAN would also consult
                with defendant ROBERT C. HOLLOWAY on possible
21              law enforcement undercover agents that had
                infiltrated the Holloway criminal enterprise.
22
     The overt acts of the conspiracy are alleged in Paragraph 78 and
23
     consist of a list of telephone calls.
24
          In its brief in opposition to Defendant’s motion, the United
25
     States represents:
26

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1              On September 20, 2007, at 8:48 a.m., Swanson,
               (while working at the Stanislaus County
2              Courthouse) called [Ermoian] to alert
               [Ermoian] to tell Bob Holloway to ‘watch his
3              back,’ and that search warrants may be
               executed soon at Holloway’s business, Road
4              Dog Cycle. This call was made the day
               Swanson received a confidential Officer
5              Safety Bulletin which described law
               enforcement’s intelligence on Bob Holloway
6              and the fact that law enforcement had been
               monitoring Holloway’s business.
7
               At 9:13 a.m., after he received the call from
8              Swanson, [Ermoian] placed a call to Holloway,
               stating that he had just received a phone
9              call, that his source told him that law
               enforcement was at his business taking
10             pictures, and that he is to ‘watch his back.’
               [Ermoian] further told Holloway that
11             ‘something is going on’ and that this
               information came from someone ‘right in the
12             court system’ and that ‘law enforcement may
               be around trying to get some orders or
13             information from the judge.’ [Ermoian]
               further tells Holloway that ‘I was told that
14             you need to watch your back and be very
               careful, something’s happening.’
15
               At 9:26 a.m., Holloway called his son, Brent,
16             at Brent’s home. Holloway told Brent that,
               ‘we’ll probably get raided today.’ When
17             Brent asked why, Holloway stated, ‘Gary
               Ermoian called me, somebody leaked some info
18             and it had to do with our party this weekend.
               They all got photographs of all the club
19             (Hells Angels) guys and ah, somebody’s in the
               courthouse right now doing paperwork, which
20             could mean a search warrant.’ Holloway goes
               on to ask Brent, ‘Can you think of anything
21             that we’ve gotten recently that’s
               questionable at all?’ Brent replies, ‘The
22             FXR frame.’ Holloway responds, ‘It’s already
               in the alley with a tag on it. Ah yeah and I
23             told them yesterday to come pick that mother
               fucker up because I don’t want it here. I
24             don’t like the looks of it. But if they
               come, it’s already tagged and sitting in the
25             alley.’

26             At 10:01 a.m., Holloway calls co-defendant

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1              Merced County Sheriff’s Deputy Joe Tyler.
               Holloway tells Tyler that, ‘We just got a
2              phone call that kind of indicated that we may
               be getting a visit from local law enforcement
3              today or in the very near future.’ Tyler
               asks, ‘What for?’ Holloway replies, ‘Oh, you
4              know the normal bullshit. Somebody said
               something or you they [sic] did some
5              surveillance and saw two motorcycles here and
               put two and two together and came up with
6              sixteen and decided it’s time for a search
               warrant or whatever ....’ Tyler asks, ‘Who
7              do you think?’ Holloway responds, ‘I don’t
               have a clue. It doesn’t make any difference.
8              I just hope it’s somebody we can talk to ...
               Anyway, I got one number of all the shit that
9              I have here that I don’t have any paperwork
               on that I’m concerned with ... I’d like to
10             have it run just so I can have a leg up on
               this situation if it’s bad ... Just trying to
11             get a leg up on it.’

12             Tyler and Holloway discussed how Holloway
               received a motorcycle component without any
13             paperwork. Tyler would later go on to state
               that he would run the numbers on the
14             component for Holloway to find out if it
               comes back stolen.
15
               At 10:45 a.m., Tyler calls Holloway back and
16             tells him the component had been reported
               stolen and possibly recovered in 1991 from
17             the Livermore Police Department, and informs
               Holloway that it’s not showing as stolen in
18             the system ‘right now,’ and won’t show up as
               stolen unless ‘someone goes to the trouble to
19             pull up the sixteen year old Livermore
               report.’
20
               At 12:03 p.m., Lynette Petrie, an employee at
21             Road Dog Cycle, is heard on the wiretap
               talking to an unknown female. She tells the
22             female that Road Dog Cycle is on ‘alert’ for
               a law enforcement raid - ‘same old crap, just
23             a different day at Road Dog.’ The female
               asks, ‘What did you guys get raided for (in
24             the past), drugs and guns?’ Petrie responds,
               ‘Yeah, that’[s] what they tried to do. It’s
25             still not happened since I worked here.
               We’ve always heard down the line that it was
26             going to happen, and so everybody is on alert

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1              and then it never happens, so who knows?’
               The female asks, ‘So, today is another alert?
2              It’s kind of like a fire drill?’ Petrie
               responds, ‘Yeah, kind of like, except the
3              bells don’t go off.’

4              At 12:36 p.m., co-defendant Johnson calls
               Holloway and tells him to leave his business
5              right then and ‘go to your friend on Tully
               Road’ (Ermoian). Johnson tells Holloway to
6              ‘get out right now!’ He then tells Holloway
               that he will see him in Modesto.
7
               At 12:45 p.m., Holloway calls [Ermoian] to
8              relay information that a source of his
               (Holloway’s) had also told him something was
9              going on and to leave his business
               immediately. Holloway and [Ermoian] then
10             discuss the fact that [Ermoian’s] source
               (Swanson) and Holloway’s source (Johnson)
11             both gave him (Holloway) information about
               possible law enforcement action being
12             contemplated against Holloway and/or his
               business.
13
               At 1:22 p.m. that day, [Ermoian] and co-
14             defendant Johnson call Holloway from
               [Ermoian’s] office. During that
15             conversation, Johnson can be heard relaying
               to [Ermoian], to relay to Holloway, the
16             description of various vehicles that Johnson
               states are law enforcement vehicles around
17             Holloway’s business. Holloway tells them he
               is going to go by his business to see if law
18             enforcement is there. In fact, there were no
               law enforcement vehicles at Holloway’s
19             business at the time.

20             At 1:51 p.m., Holloway calls [Ermoian] and
               tells [Ermoian] that he went by the business
21             and did not detect any law enforcement
               vehicles. Holloway and [Ermoian] then
22             question whether Johnson’s information was
               reliable, however, they agree that the
23             information [Ermoian’s] source (Swanson)
               provided was probably reliable. As Holloway
24             told [Ermoian], ‘You know, your information
               (from Swanson), I’m sure it’s good.’
25
               The next day, at 11:46 a.m., on September 21,
26             2007, Holloway and [Ermoian] talk again.

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1               They talk once again about their two sources.
                Holloway states, ‘I wanted to get with you,
2               you know, just to pursue your end of it a
                little bit further, you know, after I talked
3               to that other guy (Johnson) yesterday. And,
                I was beginning to think he was full of shit.
4               Now, I’m thinking maybe he is not so full of
                shit.’ [Ermoian] surmises that Johnson, being
5               a trainer of police dogs, got his information
                ‘in that place doing the training (police dog
6               training with local law enforcement) that he
                said he was doing when he overheard this
7               stuff.’

8               [Ermoian] goes on to explain: ‘Well, yeah, I
                mean where I got this from yesterday (from
9               Swanson), when I got that call yesterday
                morning, I totally, that’s totally legit and
10              I’ll, and when we talk you’ll know why.’

11              Holloway concludes, ‘And, and a lot of it has
                to do with well, you know, what there must be
12              something going on on his end (Johnson),
                because I heard it from you, a reliable
13              source (speaking of Ermoian), who heard it
                from a reliable source (speaking of Swanson),
14              independent from anything he (Johnson) would
                say or do and that’s what really fucking
15              scared me, you know?’

16              Law enforcement did not execute search
                warrants at this time. Search warrants were
17              executed in February, 2008 at Holloway’s
                business and residence.
18
          B.   Application of Section 1512(c)(2) to Conduct Alleged
19
     Against Defendants.
20
          18 U.S.C. § 1512(c) provides:
21
                Whoever corruptly -
22
                (1) alters, destroys, mutilates, or conceals
23              a record, document, or other object, or
                attempts to do so, with the intent to impair
24              the object’s integrity or availability for
                use in an official proceeding; or
25
                (2) otherwise obstructs, influences, or
26              impedes any official proceeding, or attempts

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1               to do so,

2               shall be fined under this title or imprisoned
                not more than 20 years, or both.
3
     18 U.S.C. § 1512(k) provides that “[w]hoever conspires to commit
4
     any offense under this section shall be subject to the same
5
     penalties as those prescribed for the offense the commission of
6
     which was the object of the conspiracy.”        Section 1512(f)
7
     provides that “an official proceeding need not be pending or
8
     about to be instituted at the time of the offense” and “the
9
     testimony, or the record, document, or other object need not be
10
     admissible in evidence or free of a claim of privilege.”           As used
11
     in Section 1512, an “official proceeding” means “a proceeding
12
     before a Federal Government agency which is authorized by law.”
13
     18 U.S.C. § 1515(a)(1)(C).      Section 1515(c) provides that “[t]his
14
     chapter does not prohibit or punish the providing of lawful, bona
15
     fide, legal representation services in connection with or
16
     anticipation of an official proceeding.”
17
          The parties do not discuss whether an FBI investigation into
18
     suspected criminal activity is an “official proceeding” within
19
     the meaning of Section 1515(a)(1)(C).        There is limited law
20
     addressing this issue.     The inquiry focuses on whether an
21
     investigation by a federal government agency is a “proceeding
22
     before a Federal Government agency.”         The other definitions of
23
     “official proceeding” in Section 1515(a)(1) are a proceeding
24
     before a judge or magistrate judge of a federal court or federal
25
     grand jury; a proceeding before the Congress; and a proceeding
26

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1    involving the business of insurance whose activities affect

2    interstate commerce before any insurance regulatory official or

3    agency or any agent or examiner appointed by such official or

4    agency to examine the affairs of any person engaged in the

5    business of insurance whose activities affect interstate

6    commerce.   None of these definitions apply.

7         United States v. Cross, 258 F.Supp.2d 432 (E.D.Va.2007),

8    addressed a defendant charged with witness tampering in violation

9    of Section 1512(b)(1).    Following the execution of state search

10   warrants for drugs and firearms at Antoine Goodman’s residence, a

11   DEA agent interviewed Lewis on July 12, 2002.        Lewis told the DEA

12   agent about Goodman and Cross’s involvement in drug dealings, and

13   initiated a DEA investigation.      On August 10, 2002 Cross

14   threatened to kill Lewis if she testified against Goodman and

15   assaulted her.   A federal indictment against Goodman was filed in

16   2003 and Goodman pleaded guilty.        The issue presented was whether

17   there was a federal nexus because Lewis was not a federal witness

18   and there were no federal proceedings which had matured at the

19   time Cross made the threats to Lewis.       The District Court

20   rejected Cross’s argument because a federal DEA investigation was

21   underway when Cross threatened Lewis and the investigation did

22   culminate in federal drug charges against Goodman:

23               Under the statute, the federal proceeding
                 need not be pending or about to be
24               instituted, § 1512(e), and state of mind need
                 not be proven as to the federal character of
25               the proceedings, § 1512(f). Therefore, as
                 Lewis was a witness in a federal
26               investigation, which led to federal charges,

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1                 the criteria are met for the charge of
                  witness tampering under 18 U.S.C. §
2                 1512(b)(1).

3    Id. at 435.     Cross is authority that what happened here, an FBI

4    investigation which led to federal charges satisfies the

5    “official proceeding” requirement.

6         Section 1512(c) was added by Section 1102, Pub.L. 107-24, as

7    Title XI, Corporate Fraud Accountability Act of 2002, part of the

8    Sarbanes-Oxley Act of 2002.     Defendants argue that Section 1512,

9    captioned “Tampering with a witness, victim, or an informant,”

10   prohibits conduct directed at the tampering of witnesses and

11   evidence.     Defendants contend that Section 1512(c)(2),

12   characterized by Defendants as a “residual clause,” must be

13   narrowly construed to prohibit only similar forms of corrupt

14   witness and evidence tampering.      Defendant Ermoian contends that

15   Section 1512(c)(2) should not be construed to apply to “the

16   actions of an investigator who simply relays information given to

17   him from confidential sources to his client involving a federal

18   investigation.”    This is not all that is alleged.       Rather,

19   Ermoian is charged with the other named Defendants as

20   participating in a conspiracy to obstruct an official proceeding,

21   i.e., the F.B.I. investigation of Defendants and Road Dog Cycle.

22        Defendants rely on United States v. Aguilar, 21 F.3d 1475

23   (9th Cir.1994), aff’d in part and rev’d in part, 515 U.S. 593

24   (1995), in arguing that Section 1512(c)(2) should be narrowly

25   construed,    In Aguilar, a federal judge was convicted of

26   obstruction of justice in violation of 18 U.S.C. § 1503.          Section

                                        11
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1    1503 pertains to influencing or injuring an officer, juror or

2    witness in any court of the United States.        The dispute in

3    Aguilar was over the portion of the statute imposing criminal

4    penalties on any one who “corruptly or by threats or force, or by

5    any threatening letter or communication, influences, obstructs,

6    or impedes, or attempts to influence, obstruct or impede, the due

7    administration of justice.”     Rudy Tham was a former union

8    official who had been convicted in 1980 of embezzlement in a

9    trial presided over by Judge Weigel.       Tham sought to have his

10   conviction overturned so he could resume participating in union

11   activities.   Tham sought the assistance of attorney Edward

12   Solomon and a friend, Abraham Chapman.       Chapman was married to

13   Mrs. Kusack, a longtime friend of the Aguilar family, whose

14   daughter had married Judge Aguilar’s brother.

15        In an effort to enhance the chances for success of Tham’s

16   petition before Judge Weigel, Chapman arranged a meeting between

17   Judge Aguilar and Solomon, at which Judge Aguilar reviewed the

18   petition and advised requesting an evidentiary hearing.          After

19   this meeting, Solomon and Chapman, at the urging of Tham,

20   periodically called Judge Aguilar, asking him to check on the

21   status of the petition and hearing.       Judge Aguilar complied with

22   these requests.

23        The FBI, in the course of investigating Tham and Solomon on

24   unrelated matters, learned of Tham’s efforts to set aside his

25   conviction and of the conversations Chapman and Solomon had with

26   Judge Aguilar.    The FBI began an investigation into the events

                                        12
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1    regarding Tham’s petition and the possible illegal attempt to

2    influence Judge Weigel.     In the course of the FBI investigation

3    of the possible attempt to influence Judge Weigel in ruling on

4    Tham’s petition, the FBI decided to interview Judge Aguilar to

5    determine the extent of his involvement in the matter.          FBI

6    agents asked Judge Aguilar questions about his involvement with

7    Chapman and Solomon concerning Tham’s petition.

8         In reversing Judge Aguilar’s conviction, the Ninth Circuit

9    interpreted Section 1503 as extending only to interference with a

10   pending judicial proceeding and found interference with a

11   government agency’s investigation is insufficient.         21 F.3d at

12   1484.    There was no evidence that a grand jury had authorized or

13   directed the FBI investigation or that the FBI agents had been

14   subpoenaed to testify.    Id.   “The fact that the FBI investigation

15   could result in producing evidence that might be presented to a

16   grand jury is insufficient to constitute a violation of section

17   1503.”   Id.   In construing the scope of Section 1503, the Ninth

18   Circuit noted that in 1982, Congress enacted the Victim and

19   Witness Protection Act, which removed all references to witnesses

20   in Section 1503 and enacted a new Section 1512, addressed

21   specifically to the influencing of witnesses, victims, and

22   informants.    The Second Circuit and the Ninth Circuit disagreed

23   whether the 1982 enactment of Section 1512 and the amendment to

24   Section 1503 was intended to remove witnesses entirely from the

25   scope of Section 1503.    Id. at 1484-1485.      In 1988, Congress

26   obviated the conflict between the Second and Ninth Circuits by

                                        13
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1    amending Section 1512(b)(1) to add “corruptly persuades” to

2    knowing use of intimidation, physical force, or threats to

3    influence the testimony of any person in an official proceeding.

4    The Ninth Circuit ruled:

5              The importance of the legislative history to
               this case is that in removing the conflict
6              between the Ninth Circuit and the Second
               Circuit, Congress indicated what type of non-
7              coercive conduct was meant to be proscribed
               with regard to witnesses. It is conduct that
8              ‘corruptly persuades ... or attempts to do
               so’ in order to influence or prevent the
9              testimony of any person in an official
               proceeding.
10
               In order to sustain a conviction under the
11             omnibus clause of section 1503, it must be
               found that Judge Aguilar’s actions ‘corruptly
12             or by threats or force, or by any threatening
               letter or communication, influences,
13             obstructs, or impedes, or endeavors to
               influence, obstruct, or impede the due
14             administration of justice.’ Congress’s
               translation of this requirement as it
15             pertains to witnesses, by its amendment to
               Section 1512, indicates that the conduct must
16             involve a defendant who ‘corruptly persuades
               ... or attempts to [persuade]’ a witness so
17             as to influence his testimony.

18             If a person sought to influence the testimony
               of a witness by bribery or extortion, this
19             would clearly fall within the normally
               accepted meaning of corrupt. Simply making a
20             false statement to a potential witness is a
               far cry from any generally accepted meaning
21             of ‘corrupt influence’ or ‘corrupt
               persuasion.’ To place in contrast the type
22             of conduct that would be corrupt influence,
               consider the following hypothetical fact
23             situation: FBI agents go to a judge, state
               that they have done an investigation, and
24             reveal certain facts that they intend to
               relate to a grand jury, which indicate that
25             the judge had engaged in a conspiracy to
               influence another judge. If the defendant
26             judge appeals to them not to so testify

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1              because it would harm his career, offers them
               a bribe not to testify, or threatens that he
2              will see that they lose their jobs if they
               testify - that would amount to an attempt to
3              corruptly influence the FBI agents to change
               their testimony.
4
               There is no evidence that Judge Aguilar tried
5              to tell the FBI how to testify, tried to
               persuade them not to testify, or tried to
6              dissuade them from testifying as to what
               their investigation otherwise revealed. The
7              only evidence is that he made false and
               misleading statements to the FBI regarding
8              his contacts with Chapman and Solomon. This
               is very different from the other types of
9              activities enumerated in section 1503.

10             There is a significant difference between
               making a false statement to a potential
11             witness and trying to persuade a witness to
               change his or her testimony through threats,
12             force, bribery, extortion or other means of
               corrupt persuasion. Under our past case law,
13             only section 1001 has ever covered simple
               false statements. Prior to its 1988
14             amendment, section 1503 extended to
               persuading a witness to tell a false story
15             ...; the amendment explicitly shifted the
               prohibition on such ‘corrupt persuasion’ of a
16             witness to section 1512. At no point,
               however, has this court interpreted either
17             section 1503 or section 1512 as barring the
               making of a false and misleading statement to
18             a potential grand jury witness. Instead,
               Congress’s use of the phrase ‘or corruptly
19             persuades’ is consistent with our past case
               law, corroborating our reliance on that later
20             statutory language as a guide to interpreting
               the pre-amendment section 1503.
21
               Construing section 1503 so broadly as to
22             cover making false and misleading statements
               to FBI agents would implicate the Fifth
23             Amendment concerns underlying the exculpatory
               no doctrine of section 1001 ... Thus,
24             interpreting section 1503 as overlapping with
               section 1001 would at the very least require
25             us to engraft the exculpatory no doctrine
               onto section 1503.
26

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1              If ‘corruptly influence’ is extended to mean
               ‘making false statements to a potential
2              witness,’ we will have expanded the statute
               far beyond its reasonable construction. If
3              for no other reason, the rule of lenity would
               preclude such construction ... [I]n
4              interpreting a criminal statute, where there
               is possible ambiguity, the more lenient
5              construction is required.

6    Id. at 1485-1487.

7         The Supreme Court affirmed this aspect of the Ninth

8    Circuit’s ruling, holding: “We do not believe that uttering false

9    statements to an investigating agent - and that seems to be all

10   that was proved here - who might or might not testify before a

11   grand jury is sufficient to make out a violation of the catchall

12   provision of § 1503.”    515 U.S. at 600.     There is no false

13   statement to a witness or attempt to coerce a witness charged

14   here.

15        Relying on the italicized portion of the Ninth Circuit’s

16   Aguilar opinion, Defendants argue that the Court must similarly,

17   narrowly construe the “corruptly obstructs, influences, or

18   impedes” language in Section 1512(c)(2):

19             The charged conduct does not involve Ermoian
               either tampering with a witness or destroying
20             evidence, the harms that § 1512 is designed
               to protect against. Just as in Aguilar,
21             there is no evidence that Ermoian tried to
               dissuade anyone from testifying or direct
22             anyone to destroy evidence. Thus, as the
               Aguilar Court concluded, interpreting § 1512
23             to cover Ermoian’s conduct here would expand
               the statute ‘far beyond its reasonable
24             construction.’

25        The United States responds that Aguilar is not controlling

26   because the Ninth Circuit was construing an entirely different

                                        16
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1    statute.   The United States also takes issue with Defendants’

2    contention that a violation of Section 1512(c) is limited to the

3    destruction of evidence or tampering with a witness, citing

4    United States v. Plaskett, 2008 WL 3833838 at *3 (D.Virgin

5    Islands 2007):

6               To sustain a conviction for obstruction of
                justice under Section 1512(c)(2), the
7               government must prove: (1) that the defendant
                knowingly; (2) corruptly obstructed,
8               influenced and impeded, or attempted to do
                so; (3) an official proceeding.
9
     While the official proceeding need not be pending or about to be
10
     instituted at the time of the offense, such proceeding must have
11
     been foreseen by the defendant.      Id.   To prove the requisite
12
     intent to obstruct, courts have required the government to prove
13
     that there was a sufficient nexus between the obstructive conduct
14
     and the official proceeding.     Id. at * 4.     The endeavor must have
15
     the natural and probable effect of interfering with the due
16
     administration of justice.     United States v. Reich, 479 F.3d 179,
17
     185 (2nd Cir.), cert. denied, ___ U.S. ___, 128 S.Ct. 115 (2007).
18
          The United States contends that here, Defendants were
19
     knowingly and wrongfully using sources in law enforcement to gain
20
     access to confidential law enforcement information to discover,
21
     impede and obstruct the criminal racketeering investigation of an
22
     international stolen motorcycles and motorcycle parts criminal
23
     enterprise, which dealt with outlaw motorcycle groups and
24
     included extortionate credit dealings, all of which interfered
25
     with, impeded, or obstructed the execution of search warrants by
26

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1    tipping off Holloway and his business to facilitate the secreting

2    or destruction of evidence and to deter or frustrate the F.B.I.

3    investigation and obtaining of evidence.

4         Defendants also cite Arthur Andersen LLP v. United States,

5    544 U.S. 696 (2005), a conviction for violation of 18 U.S.C. §

6    1512(b)(2)(A) & (B) which provides: “Whoever knowingly uses

7    intimidation or physical force, threatens, or corruptly persuades

8    another person, or attempts to do so, or engages in misleading

9    conduct toward another person, with intent to ... cause or induce

10   any person to ... withhold testimony, or withhold a record,

11   document, or other object, from an official proceeding [or]

12   alter, destroy, mutilate, or conceal an object with intent to

13   impair the object’s integrity or availability for use in an

14   official proceeding” shall be subject to criminal penalties.

15   The adequacy of the jury instructions concerning “knowingly ...

16   corruptly persuad[e]” another person “with intent to ... cause”

17   that person to “withhold” documents from or “alter” documents for

18   use in, an “official proceeding” were decided by the Supreme

19   Court.   The Supreme Court stated:

20              ‘We have traditionally exercised restraint in
                assessing the reach of a federal criminal
21              statute, both out of deference to the
                prerogatives of Congress ... and out of
22              concern that “a fair warning should be given
                to the world in language that the common
23              world will understand, of what the law
                intends to do if a certain line is passed.”
24              ....

25              Such restraint is particularly appropriate
                here, where the act underlying the conviction
26              - ‘persua[sion]’ - is by itself innocuous.

                                        18
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1              Indeed, ‘persuad[ing]’ a person ‘with intent
               to ... cause’ that person to ‘withhold’
2              testimony or documents from a Government
               proceeding or Government official is not
3              inherently malign. Consider, for instance, a
               mother who suggests to her son that he invoke
4              his right against compelled self-
               incrimination ... or a wife who persuades her
5              husband not to disclose marital confidences
               ....
6
               Nor is it necessarily corrupt for an attorney
7              to ‘persuad[e]’ a client ‘with the intent to
               ... cause’ that client to ‘withhold’
8              documents from the Government. In Upjohn Co.
               v. United States ..., for example, we held
9              that Upjohn was justified in withholding
               documents that were covered by the attorney-
10             client privilege from the Internal Revenue
               Service ... No one would suggest that an
11             attorney who ‘persuade[d]’ Upjohn to take
               that step acted wrongfully, even though he
12             surely intended that his client keep those
               documents out of the IRS’ hands.
13
     Id. at 703-704.    The Supreme Court noted that document retention
14
     policies, which are created in part to keep certain information
15
     from getting into the hands of others, including the Government,
16
     are common in business and that it is not wrongful for a manager
17
     to instruct his employees to comply with a valid document
18
     retention policy under ordinary circumstances.         Id.   The Supreme
19
     Court rejected the Government’s position that “knowingly” in
20
     Section 1512(b)(2)(A) & (B) does not modify “corruptly
21
     persuades:”
22
                       It provides the mens rea -
23                     ‘knowingly’ - and then a list of
                       acts - ‘uses intimidation or
24                     physical force, threatens, or
                       corruptly persuades.’
25
     Id. at 705.   The Supreme Court construed the meaning of the terms
26

                                        19
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1    “knowingly” and “corruptly:”

2              Only persons conscious of wrongdoing can be
               said to ‘knowingly ... corruptly persuad[e].’
3              And limiting criminality to persuaders
               conscious of their wrongdoing sensibly allows
4              § 1512(b) to reach only those with the level
               of ‘culpability ... we usually require in
5              order to impose criminal liability.’ ....

6    Id. at 706.   The jury instructions were found to be flawed:

7              The outer limits of this element need not be
               explored here because the jury instructions
8              at issue simply failed to convey the
               requisite consciousness of wrongdoing.
9              Indeed, it is striking how little culpability
               the instructions required. For example, the
10             jury was told that, ‘even if [petitioner]
               honestly and sincerely believed that its
11             conduct was lawful, you may find [petitioner]
               guilty.’ ... The instructions also diluted
12             the meaning of ‘corruptly’ so that it covered
               innocent conduct ....
13
               The parties vigorously disputed how the jury
14             would be instructed on ‘corruptly.’ The
               District Court based its instruction on the
15             definition of that term found in the Fifth
               Circuit Pattern Jury Instruction for § 1503.
16             This pattern instruction defined ‘corruptly’
               as ‘knowingly and dishonestly, with the
17             specific intent to subvert or undermine the
               integrity’ of a proceeding ... The
18             Government, however, insisted on excluding
               ‘dishonestly’ and adding the term ‘impede’ to
19             the phrase ‘subvert or undermine.’ ... The
               District Court agreed over petitioner’s
20             objections, and the jury was told to convict
               if it found petitioner intended to ‘subvert,
21             undermine, or impede’ governmental
               factfinding by suggesting to its employees
22             that they enforce the document retention
               policy ....
23
               These changes were significant. No longer
24             was any type of ‘dishonest[y]’ necessary to a
               finding of guilt, and it was enough for
25             petitioner to have simply ‘impede[d]’ the
               Government’s factfinding ability. As the
26             Government conceded at oral argument,

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1              ‘”[i]mpede”’ has broader connotations that
               ‘”subvert”’ or even ‘”undermine”’ ... and
2              many of these connotations do not incorporate
               any ‘corrupt[ness]’ at all. The dictionary
3              defines ‘impede’ as ‘to interfere with or get
               in the way of the progress of’ or ‘hold up’
4              or ‘detract from.’ ... By definition, anyone
               who innocently persuades another to withhold
5              information from the Government ‘get[s] in
               the way of the progress of’ the Government.
6              With regard to such innocent conduct, the
               ‘corruptly’ instruction did no limiting work
7              whatsoever.

8    Id. at 706-707.   The jury instructions were also infirm because

9    they allowed the jury to believe that it did not have to find any

10   nexus between the “persuasion” to destroy documents and any

11   particular official proceeding.      Id. at 707.    “A ‘knowingly ...

12   corrup[t] persuade[r]’ cannot be someone who persuades others to

13   shred documents under a document retention policy when he does

14   not have in contemplation any particular official proceeding in

15   which those documents might be material.”        Id. at 707-708.

16        Defendant Ermoian invokes Arthur Andersen by referring to

17   the Supreme Court’s examples of persuasion that are not

18   necessarily malignant and contends:

19             [C]riminalizing the conduct charged here
               would improperly impair entirely legitimate
20             attorney and investigator activities. By
               definition, much of a criminal defense
21             attorney’s job is to impair, influence, or
               impede a criminal prosecution, albeit in
22             lawful ways, such as filing motions, raising
               privileges, and collecting information that
23             could defeat the government’s case. An
               attorney who is hired to represent a client
24             with respect to a pending or potential
               criminal investigation must be able to
25             vigorously defend his or her client within
               the bounds of the law. This necessarily
26             includes relaying information to the client

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1               or hiring an investigator to interview
                witnesses, obtain records, and generally
2               gather information. Criminalizing such
                conduct as alleged here would impermissibly
3               chill vigorous and entirely appropriate
                attorney and investigator activities. Under
4               the Government’s interpretation of § 1512,
                for example, a corporate attorney may be
5               exposed to criminal liability for corruptly
                influencing, impairing, or impeding a federal
6               investigation if the attorney informed the
                corporations’s CEO that the U.S. Attorney’s
7               Office had begun a criminal investigation and
                would soon be issuing subpoenas for its
8               employees to appear before the Grand Jury[.]
                Isn’t that what a good criminal defense
9               attorney is supposed to do? But the
                government’s interpretation of § 1512(c)(2)
10              and (k) in this case puts the attorney at
                undue risk of criminal prosecution.
11
     Defendant Ermoian argues that he was “squarely within the law
12
     when relaying information that was given to him as an
13
     investigator about a potential government investigation to his
14
     client.”   He has also provided support from the California
15
     Association of Licensed Investigators, echoing these concerns by
16
     engaging in investigative, informational, and advisement
17
     activities.   These concerns are misplaced as they do not address
18
     the types of conduct here in dispute.
19
          The United States argues that Ermoian’s actions were not
20
     “squarely within the law” and that he did not have a duty as a
21
     private investigator to share the information he received from
22
     Swanson with Holloway when Ermoian’s alleged purpose was to use
23
     confidential law enforcement information to thwart seizure of
24
     evidence pursuant to search warrant or prevent implementation of
25
     law enforcement activities to impede success of the investigation
26

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1    by unlawful means:

2                The evidence reveals that the defendant
                 obtained what was obviously confidential law
3                enforcement information from a corrupt source
                 within law enforcement. He was not ethically
4                bound to share this information with Bob
                 Holloway. The defendant could have easily
5                told Deputy Swanson to talk to Bob Holloway
                 directly, or could have not shared this
6                information at all, so as to not involve
                 himself in the passing on of what is clearly
7                confidential, sensitive law enforcement
                 information from a corrupt source within law
8                enforcement.

9         This distinguishes the legitimate concerns of the private

10   investigator to inform and advise a client about a criminal

11   investigation, from an investigator who joins a conspiracy to

12   corruptly use law enforcement officers, law enforcement

13   confidential information, with the purpose of thwarting the

14   surprise element in search warrant service, the hiding or

15   destruction of evidence to prevent seizure, and the wrongful use

16   of confidential law enforcement data bases to whether parts or

17   property are contraband to prevent its identification and

18   seizure, or to access confidential law enforcement data bases to

19   identify witnesses or others involved in targeted criminal

20   activity.

21        Ermoian replies that a narrow construction of Section

22   1512(c)(2) is required by the cited authority and that his

23   alleged conduct is not be within the reach of the statute:

24               Ermoian did not advise Holloway to do
                 anything unlawful, such as destroy or hide
25               evidence. Rather, even under the
                 government’s view of the facts ..., the
26               government’s allegations amount to nothing

                                        23
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1                more than vague suggestions to ‘watch his
                 back’ and general surmising about possible
2                search warrants and witnesses - not any
                 suggestion to hide evidence.
3
          Accepting Defendant’s interpretation, arguably the
4
     government’s theory is that Ermoian was a knowing participant
5
     assisting co-conspirators who were using unlawful means to
6
     destroy, secret, or put beyond the reach of law enforcement,
7
     evidence of Holloway’s alleged criminal conduct of the stolen
8
     parts and motorcycle criminal enterprise.        Moreover, Ermoian was
9
     allegedly working in concert with corrupt law enforcement
10
     officers to access nonpublic law enforcement information and to
11
     help Holloway avoid detection, seizure of evidence, and to avoid
12
     or be prepared for any law enforcement raids or service of search
13
     warrants.
14
          C.   Section 1512(c)(2) Unconstitutionally Vague.
15
          Ermoian argues that Section 1512(c)(2) is unconstitutionally
16
     vague because the term “corruptly” fails to provide adequate
17
     notice that the facts charged against Ermoian constitute a
18
     criminal offense under Section 1512(c)(2) and (k); that these
19
     statutes are too vague to provide notice that it prohibits the
20
     relaying of information once it has been leaked by a court staff
21
     member or confidential source.
22
          “[A] statute which either forbids or requires the doing of
23
     an act in terms so vague that men of common intelligence must
24
     necessarily guess at its meaning and differ as to its
25
     application, violates the first essential of due process of law.”
26

                                        24
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1    Connally v. General Construction Company, 269 U.S. 385, 391

2    (1926).   A penal statute must define the criminal offense with

3    sufficient definiteness that ordinary people can understand what

4    conduct it prohibits, and do so in a manner that does not invite

5    arbitrary and discriminatory enforcement by which “policemen,

6    prosecutors, and juries ... pursue their personal predilections.

7    Kolender v. Lawson, 461 U.S. 352, 357-358 (1983).          “The standard

8    for unconstitutional vagueness is whether the statute ‘provide[s]

9    a person of ordinary intelligence fair notice of what is

10   prohibited, or is so standardless that it authorizes or

11   encourages seriously discriminatory enforcement.’” Maldonado v.

12   Morales, 556 F.3d 1037, 1045 (9th Cir.2009).

13        To prove that Section 1512(c)(2) is unconstitutionally

14   vague, Defendant must show that the statute “‘(1) does not define

15   the conduct that it prohibits with sufficient definiteness and

16   (2) does not establish minimal guidelines to govern law

17   enforcement.’” United States v. Rodriguez, 360 F.3d 949, 953 (9th

18   Cir.), cert. denied, 543 U.S. 867 (2004).        Where a statute is

19   challenged as unconstitutionally vague in a cause of action not

20   involving the First Amendment, the Court must determine “‘whether

21   the statute is impermissibly vague in the circumstances of this

22   case.’” Id.   The Supreme Court “has long recognized that the

23   constitutionality of a vague statutory standard is closely

24   related to whether that standard incorporates a requirement of

25   mens rea.”    Colautti v. Franklin, 439 U.S. 379, 395 (1979); see

26   also United States v. Mussry, 726 F.2d 1448, 1455 (9th Cir.),

                                        25
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1    cert. denied sub nom. Singman v. United States, 469 U.S. 855

2    (1984).

3         Defendant places primary reliance on United States v.

4    Poindexter, 951 F.2d 369 (D.C.Cir.1991), cert. denied, 506 U.S.

5    1021 (1992).    Poindexter was convicted of violating 18 U.S.C. §

6    1505, which provided:

7              Whoever corruptly, or by threats or force, or
               by any threatening letter or communication
8              influences, obstructs, or impedes or
               endeavors to influence, obstruct, or impede
9              the due and proper administration of the law
               under which any pending proceeding is being
10             had before any department or agency of the
               United States, or the due and proper exercise
11             of the power of inquiry under which any
               inquiry or investigation is being had by
12             either House, or any committee of either
               House or any joint committee of the Congress
13             [¶] shall [be subject to criminal penalty].

14   Poindexter ruled that the term “corruptly” as used in Section

15   1505 “is too vague to provide constitutionally adequate notice

16   that it prohibits lying to Congress.”        Id. at 379.    In so

17   ruling, the District of Columbia Circuit relied on the

18   definitions of “corrupt” and “corruptly” applied in United States

19   v. North, 910 F.2d 843 (North I), modified, 920 F.2d 940

20   (D.C.Cir.1990)(North II):

21             ‘[C]orruptly’ is the adverbial form of the
               adjective ‘corrupt,’ which means ‘depraved,
22             evil: perverted into a state of moral
               weakness or wickedness ... of debased
23             political morality; characterized by bribery,
               the selling of political favors, or other
24             improper political or legal transactions or
               arrangements. A ‘corrupt’ intent may also be
25             defined as ‘the intent to obtain an improper
               advantage for [one]self or someone else,
26             inconsistent with official duty and the

                                        26
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1              rights of others.’

2    North I at 881-882.    The Poindexter Court then looked to the

3    legislative histories of Section 1503, 1505 and 1512, as well as

4    cases interpreting Section 1505, to determine whether these

5    provide a narrowing interpretation of the term “corruptly” to

6    provide adequate notice that it criminalized false and misleading

7    statements to Congress.     Id. at 379-386.     Poindexter concluded

8    that no such narrowing interpretation was provided by legislative

9    history or case law.

10        Poindexter’s holding has been overturned by Congress’s

11   enactment of 18 U.S.C. § 1515(b), which provides that

12   “corruptly,” when used in the context of this statutory

13   provision, means “acting with an improper purpose, personally or

14   by influencing another, including making a false or misleading

15   statement, or withholding, concealing, altering, or destroying a

16   document or other information.”      United States v. Hassoun, 477

17   F.Supp.2d 1210, 1226-1227 (S.D.Fla.2007).        In United States v.

18   Shotts, 145 F.2d 1289 (11th Cir.1998), the Eleventh Circuit read

19   Poindexter narrowly and refused to extend Poindexter’s view of

20   Section 1505's “corruptly” to Section 1512(b): “We again decline

21   to extend Poindexter to another section of the obstruction-of-

22   justice statutes.”     Id. at 1300; see also United States v.

23   Brenson, 104 F.3d 1267, 1280 (11th Cir.1997)(refusing to apply

24   Poindexter to “corruptly” in Section 1503).        The Ninth Circuit in

25   Aguilar, after describing conduct that falls within the normally

26   accepted meaning of corrupt, i.e. bribery or extortion of a

                                        27
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1    witness, and concluding that making a false statement to a

2    potential witness is not within any generally accepted meaning of

3    “corrupt influence” or “corrupt persuasion” for purposes of

4    Section 1503, referred to but did not apply Poindexter:

5              We find United States v. Poindexter ... most
               helpful on this point. In that case, the
6              D.C. Circuit held that the term ‘corruptly,’
               as used in 18 U.S.C. § 1505, was
7              unconstitutionally vague as applied to
               Poindexter’s false statements to Congress.
8              The court’s interpretation of section 1505
               was based on Section 1503, since the language
9              of section 1505, including its ‘omnibus
               clause,’ was borrowed from section 1503.
10
               The Poindexter court found that while the
11             defendant’s false statements violated section
               1001, they were not obviously encompassed
12             with section 1505's prohibition against
               corruptly influencing, obstructing or
13             impeding a congressional inquiry. The court
               found that the term corruptly - although ‘at
14             least as used in § 1503, ... is something
               more specific than simply ‘any immoral method
15             used to influence a proceeding,” - did not
               give constitutionally sufficient notice that
16             it prohibited false statements to Congress
               ... Our construction of section 1503 renders
17             this constitutional inquiry unnecessary, but
               we note that the constitutional issue raised
18             and decided in Poindexter is nearly identical
               to the issue that is present here and that we
19             would be required to conduct the same
               analysis as the D.C. Circuit were we to
20             construe the statute in the manner urged by
               the prosecution.
21
          The United States correctly notes that this Court is not
22
     bound by Poindexter, out-of-circuit authority.          Congress has
23
     moved beyond Poindexter by explicitly defining “corruptly.”            The
24
     United States cites United States v. Rasheed,        663 F.2d 843, 852
25
     (9th Cir.1981), cert. denied sub nom., Phillips v. United States,
26

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1    454 U.S. 1157 (1982), where the Ninth Circuit defined the word

2    “corruptly” used in Section 1503: “means that the act must be

3    done with the purpose of obstructing justice.”         Rasheed

4    explained:

5                 Using this definition of ‘corruptly,’ the
                  destruction or concealment of documents can
6                 fall within the prohibition of the statute.
                  This holding does no violence to our rule
7                 that the catch-all provision of section 1503
                  is limited by the prior specific prohibitions
8                 of the statute. The act of destroying or
                  concealing subpoenaed documents is ‘similar
9                 in nature,’ ... to the enumerated acts. The
                  destruction or concealment of subpoenaed
10                documents results in the improper suppression
                  of evidence, and thus the influencing,
11                obstructing and impeding of judicial
                  proceedings, just as much was does the
12                intimidation of a witness.

13   See also United States v. Laurins, 857 F.2d 529, 536-537 (9th

14   Cir.1988), cert. denied, 492 U.S. 906 (1989):

15                The specific intent required for obstruction
                  of justice under sections 1503 and 1505 is
16                that defendant must have acted ‘corruptly,’
                  i.e., that the act must have been done with
17                the purpose of obstructing justice ...
                  Concealing documents falls within this
18                definition.

19   See also United States v. Lester, 749 F.2d 1288, 1295 (9th

20   Cir.1984)(Section 1503 embraces conspiracy to obstruct justice by

21   hiding a witness to prevent his appearance at trial).

22        Defendant replies that Rasheed, Laurins, and Lester all

23   involve “conduct at the ‘core’ of the obstruction of justice

24   statutes” and none “considered the form of conduct at issue here

25   and none addressed whether the statute at issue was

26   unconstitutionally vague” as applied to Ermoian’s conduct.

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1    Defendant asserts:

2              [I]t is circular logic to say ... that by
               defining the term ‘corruptly’ in other
3              contexts to mean for ‘an evil or wicked
               purpose,’ or that the act must be done for
4              the purpose of obstructing justice, clarifies
               the statute. How does this definition
5              provide adequate guidance as to what is
               covered by section 1512(c)(2) in evaluating
6              conduct that is outside the accepted
               prohibitions against threatening, bribing, or
7              hiding witnesses, or concealing or destroying
               documentary evidence? The statute is
8              insufficiently clear to provide notice of
               what is covered once one goes outside this
9              ‘core’ obstruction behavior.

10        Here, corruptly, meaning an act done with the intent to

11   obstruct justice, applies to knowingly wrongful conduct in

12   wrongfully accessing and using confidential law enforcement

13   information, that is carried out to hide, destroy, or put

14   evidence beyond the reach of law enforcement conducting a

15   criminal investigation, by “tipping off” or warning a suspect

16   about search warrant proceedings or law enforcement raids or

17   investigations to prevent the law enforcement proceeding from

18   succeeding.   Although Ermoian argues Section 1512(c)(2) is

19   unconstitutionally vague as to his actions - all he did was call

20   Holloway and tell him “that his source told him that law

21   enforcement was at his business taking pictures, and that he is

22   to “watch his back;”    Ermoian also     told Holloway that “something

23   is going on” and that this information came from someone “right

24   in the court system” and that “law enforcement may be around

25   trying to get some orders or information from the judge.” Ermoian

26   further told Holloway, “I was told that you need to watch your

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1    back and be very careful, something’s happening.”         Where the

2    client seeks counseling concerning criminal conduct, the crime-

3    fraud exception to the attorney-client privilege arguably

4    applies.     See, e.g., In re Grand Jury Proceedings, 87 F.3d 377,

5    381 (9th Cir.), cert. denied sub nom. Corporation v. United

6    States, 519 U.S. 945 (1996).     If Ermoian’s conduct is in knowing

7    furtherance of a conspiracy to wrongfully access confidential law

8    enforcement data bases to warn Holloway that stolen property

9    needs to be removed, hidden or destroyed to avoid detection or

10   seizure, the requisite corrupt purpose to impede an official

11   proceeding, a F.B.I. investigation, is present.

12        D.    Attorney-Client and Work Product Privileges.

13        Ermoian argues that Count Sixteen must be dismissed because

14   his conduct consists of making and receiving phone calls that are

15   protected by the attorney-client and work product privileges.

16        The United States contends that there is an issue whether

17   Ermoian, “as a private investigator not retained by the defendant

18   [sic] on any particular case, holds a privilege with Robert

19   Holloway:”

20                The defendant has not shown to the court any
                  agreement between himself and Mr. Holloway,
21                or any agreement between Mr. Holloway and any
                  attorney under whom the defendant worked,
22                that covers the time period in question and
                  the investigation in question. The defendant
23                has cited to no case in which communications
                  of a private investigator, separate and apart
24                from an attorney communication with a client,
                  are privileged.
25
          Ermoian responds by referring to allegations in the
26

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1    affidavit of FBI Agent Elias in support of the search warrant,

2    No. 08-SW-00027 OWW, filed on July 31, 2008, where Elias

3    described Ermoian as a private investigator who is “working for

4    the criminal defense attorney who represents Bob Holloway.”            He

5    refers to Agent Elias’ declaration in connection with a report of

6    a stolen motorcycle in August 2005 that attorney Kirk McAllister

7    told Stanislaus County Sheriff’s Detective Joe Knittel that “his

8    investigator, Gary Ermoian” had possession of and would return

9    the motorcycle.   Ermoian finally refers to Agent Elias’ testimony

10   at the hearing on the motion to revoke the detention order

11   conducted on September 10, 2008, that Ermoian is “a private

12   investigator that works for several different defense attorneys

13   in Stanislaus County.    And we have received information that -

14   through the course of our investigation and supported by the

15   wiretaps that Mr. Ermoian was a private investigator who

16   conducted work on behalf of Mr. Holloway and/or Mr. Holloway’s

17   legal representation.”    Ermoian argues that, after consistently

18   taking the position that Ermoian was acting as a private

19   investigator through attorney Kirk McAllister when the government

20   applied for and obtained a number of search warrants and wiretap

21   orders, the United States should be estopped from taking an

22   inconsistent position by arguing here that there was no attorney-

23   client relationship.    To the extent the Court believes it

24   necessary, Ermoian is prepared to establish an attorney-client

25   relationship at an evidentiary hearing on this motion.

26        Determining whether judicial estoppel should be invoked is

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1    informed by several factors: (1) whether a party adopts a

2    position clearly inconsistent with its earlier position; (2)

3    whether the court accepted the party’s earlier position; and (3)

4    whether the party would gain an unfair advantage or impose an

5    unfair detriment on the opposing party if not estopped.          New

6    Hampshire v. Maine, 532 U.S. 742, 750-751 (2001).         Judicial

7    estoppel does not apply.     It is Ermoian’s burden to show that his

8    communications with Holloway at issue were privileged.          Although

9    the search warrant is sealed, it does not appear that Agent Elias

10   averred that Ermoian was retained by Mr. McAllister at the time

11   of the alleged telephone calls.      There is no unfair advantage to

12   the United States nor a detriment to Ermoian, as he says he can

13   prove that his contacts with Holloway at the time at issue were

14   subject to attorney-client relationship and has now offered his

15   declaration on this subject.

16        The United States further argues that the client, Robert

17   Holloway, waived any privilege by revealing the contents of his

18   conversation with Ermoian to third parties, i.e., Brent Holloway,

19   Joe Tyler, and Steve Johnson.      The United States cites United

20   States v. Tellier, 255 F.2d 441, 447 (9th Cir.), cert. denied,

21   358 U.S. 821 (1958):

22             It is of the essence of the attorney-client
               privilege that it is limited to those
23             communications which are intended to be
               confidential ... Thus it is well established
24             that communications between an attorney and
               his client, though made privately, are not
25             privileged if it was understood that the
               information communicated in the conversation
26             was to be conveyed to others.

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1    Ermoian responds that “the purpose of the calls in question was

2    to report on information learned from others, an unquestionable

3    purpose of legitimate investigator activities.”         Ermoian cites

4    Upjohn Co. v. United States, 449 U.S. 333 (1981) and United

5    States v. Rowe, 96 F.3d 1294, 1297 (1996).        In Rowe, the Ninth

6    Circuit held that “[w]hat [Upjohn] did do is make clear that

7    fact-finding which pertains to legal advice counts as

8    ‘professional legal services.’”         Ermoian contends that “it is

9    too much of a reach to argue that Ermoian knew the information he

10   discussed with Holloway would be conveyed to third-parties

11   outside the scope of the attorney-client privilege.”

12        One of the telephone calls between Ermoian and Holloway

13   occurred in Ermoian’s office in the presence of Johnson.          The

14   presence of a third party defeats the confidentiality requirement

15   of the privilege.

16        The United States contends that there can be no colorable

17   argument made that the communications between Ermoian and

18   Holloway discussing leaks in a criminal investigation and how to

19   elude the impact of a search warrant are communications to obtain

20   “informed legal advice.”     The crime-fraud exception prevents

21   legal advice, counseling or furthering criminal or fraudulent

22   activity.   Ermoian disagrees.     Referring to the declaration of

23   Mark J. Reichel, Ermoian contends:

24               Ermoian’s relaying of information he obtained
                 from others about a potential government
25               investigation is certainly within the
                 boundaries of providing professional legal
26               services. Ermoian’s and Holloway’s

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1                 speculation that a search warrant may have
                  been issued or that agents were in the
2                 process of searching the premises is what
                  [sic] one of a wide range of actions
3                 attorneys and investigators routinely discuss
                  their clients ... Attorneys often advise
4                 clients on what to do if and when agents
                  arrive with a search warrant ... Such
5                 discussions are not unlawful and
                  criminalizing them would chill entirely
6                 appropriate legal defense activity.

7          This presents an issue of intent as to the corrupt purpose

8    that is for the jury to resolve, once the separate issue of the

9    privilege claim is resolved.     The charged conduct is not

10   privileged as a matter of law.

11         Ermoian contends that Count 16 must be dismissed because his

12   alleged conduct is protected by the work product privilege.            The

13   work product privilege protects information prepared in

14   anticipation of litigation or for trial or for another party or

15   its representative.    The purpose of the privilege is to give

16   parties freedom and incentive to develop their own cases and to

17   prevent exploitation of a party’s efforts in preparing for

18   litigation.     See Moreno v. Autozone, Inc., 2008 WL 906510 at *1

19   (N.D.Cal.2008).    Whether Ermoian’s conversations with Holloway

20   are subject to the work product privilege is an issue that

21   depends on resolution of disputed facts.

22                               CONCLUSION

23         For all the reasons stated: Defendant Ermoian’s motion to

24   dismss the Sixteenth Count of the Second Superseding Indictment

25   is DENIED.

26   ///

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1    IT IS SO ORDERED.

2    Dated:   November 19, 2009             /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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